                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MISSOURI
                             CENTRAL DIVISION

TURTLE ISLAND FOODS,                       )
SPC, ET AL.,                               )
                                           )
                Plaintiffs,                )
                                           )
       v.                                  )   Case No. 2:18-CV-04173
                                           )
MARK RICHARDSON,                           )
                                           )
                Defendant.                 )

                                      ORDER
       This case was reported settled on January 30, 2019. The parties were directed to

file a Status Report or a Stipulation of Dismissal on or before March 4, 2019. On March

1, 2019 the parties filed a status report stating that additional time was needed to work

on the proposed language and to obtain formal approval from all necessary government

officials. On April 1, 2019 and May 1, 2019 the parties filed identical status reports citing

the same reasons why additional time was needed. The Court will grant the parties an

additional one month extension of time to file their Stipulation of Dismissal. However, if

additional time is needed beyond June 3, 2019, the parties will be expected to provide a

more detailed discussion of why additional time is necessary and what specific steps

have been taken toward finalizing the settlement. Accordingly, the parties are directed

to file either a stipulation of dismissal or a status report on or before June 3, 2019.



Date: May 2, 2019                                 S/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                             Fernando J. Gaitan, Jr.
                                                  United States District Judge




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